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fase 2:19-cv-00168-JAD-DJA Document 135 Filed 09/01/21 Page 1 of 6

LESLIE MARK STOVALL, ESQ.
Nevada Bar No. 2566

ROSS MOYNIHAN, ESQ.
Nevada Bar No. 11848
STOVALL & ASSOCIATES
2301 Palomino Lane

Las Vegas, NV 89107

Telephone: (702) 258-3034
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Attorney for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

KATHRYN MAYORGA, an individual Case No.: 2:19-cv-00168-JAD-DJA

Plaintiff,
Vs.

CRISTIANO RONALDO, individually,
Does I-XX and Roe Corporations I-XX;
Defendants.

 

 

PLAINTIFF’S MOTION TO EXTEND TIME TO REPLY
TO DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR IN CAMERA

REVIEW OF THE FOOTBALL LEAKS DOCUMENTS TO DETERMINE WHETHER

THE CRIME FRAUD EXCEPTION APPLIES [ECF NO. 124]

(Second Request)
COMES NOW Plaintiff, by and through her attorneys, STOVALL & ASSOCIATES, and

files this motion to extend time to reply to defendant’s response to plaintiff's motion for in
camera review of the Football Leaks documents to determine whether the crime fraud exception

applies [ECF NO. 124]. This is the second request for an extension of time made to the court.

Page ! of 6

 

 

 
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ase 2:19-cv-00168-JAD-DJA Document 135 Filed 09/01/21 Page 2 of 6

This motion is based upon the pleadings and papers on file herein, the memorandum of
points and authorities attached hereto, and any oral argument this Court may entertain should
there be a hearing on the motion.

Dated this day of September, 2021.
STOVALEL & ASSOCIATES

 

LESLIE MARK STOVALL, ESQ.
Nevada Bar No. 2566

ROSS MOYNIHAN, ESQ.
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Attorney for Plaintiff

DECLARATION OF PLAINTIFF’S COUNSEL IN SUPPORT OF
PLAINTIFF’S MOTION TO EXTEND TIME
LESLIE MARK STOVALL, declares and states as follows:
i I am the attorney of record for the plaintiff in this case.

2, On July 7, 2021 the plaintiff filed motion for in camera review of the Football

Leaks documents to determine whether the crime fraud exception applies [ECF

NO. 124].

a. On July 28, 2021 the parties agreed to extend the time for defendant to file replies
and opposition re: [ECF NOS. 111, 113, 123, 124 and 126] (First Request)

4, The parties agreed that the deadline for plaintiff's reply to defendant’s response to

plaintiff's motion for in camera review of the Football Leaks documents to

Page 2 of 6

 

 

 
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10.

fase 2:19-cv-00168-JAD-DJA Document 135 Filed 09/01/21 Page 3 of 6

determine whether the crime fraud exception applies [ECF NO. 124] shall be
extended from August 25, 2021 to September 1, 2021.

On August 18, 2021 Defendant filed his response to plaintiff's motion for in
camera review of the Football Leaks documents to determine whether the crime
fraud exception applies [ECF NO. 124]

On August 19, 2021 counsel for plaintiff email counsel Kendelee Works, Esq.
requesting an extension of time for plaintiff to file her reply from August 25, 2021
to September 9, 2021 due counsel for plaintiff being scheduled out of jurisdiction
until September 1, 2021.

On August 19, 2021 counsel for defendant email plaintiff's counsel a blank email

with the July 28, 2021 filed stipulation attached which was granted with an
extension of time for plaintiff to file her reply from August 25, 2021 to September
1, 2021.

On August 20, 2021 plaintiff's counsel email Ms. Works to request an additional
time for plaintiff to file her reply from September 1, 2021 to September 9, 2021
due to counsel for plaintiff scheduled out of jurisdiction. Counsel for defendant
did not respond.

I am requesting an extension of time to file plaintiff's reply to defendant’s
response to plaintiff's motion for in camera review of the Football Leaks
documents to determine whether the crime fraud exception applies [ECF NO.
124] because I have not been able to begin work on the reply due to my office’s
back log since my return from out of the country.

I am requesting that the court extend the time for the filing of the plaintiff's reply

to defendant’s response to plaintiff's motion for in camera review of the Football

Page 3 of 6

 
(Tase 2:19-cv-00168-JAD-DJA Document 135 Filed 09/01/21 Page 4 of 6

Leaks documents to determine whether the crime fraud exception applies [ECF
NO. 124] from September 1, 2021 to September 14, 2021.
11. This motion is made in good faith and not for propose of unnecessary delay.

I declare under penalty of perjury under the laws of Nevada that the foregoing is

true and correct.
DATED this Lik of September, 2021. me

LESLYE MARK STOVALL, ESQ.

MEMORANDUM OF POINTS AND AUTHORITIES
FRCP 6(b) states:

When an act may or must be done within a specific time. The court may, for good cause,
extend the time:

(A) — with or without motion or notice if the courts acts, or if a request is made, before
the original time or its extension expires; or

(B) on motion made after the time has expired if the party failed to act because of
excusable neglect.

LRIA6-1 states in pertinent part:

(a) A motion or stipulation to extend dime must state the reasons for the extension
requested and must inform the court of all previous extension of the subject
deadline the court granted.

(b) A stipulation or motion to seeking to extend the time to file an opposition or reply
to a motion, or to extend the time fixed for hearing a motion, must state in its
opening paragraph the filing date of the subject motion or the date of the subject
hearing.

Based upon the declaration of counsel, good cause exists for the extension of plaintiff's
time from September |, 2021 to September 14, 2021 to reply to defendant’s response to
plaintiff's motion for in camera review of the Football Leaks documents to determine whether

the crime fraud exception applies [ECF NO. 124].

Page 4 of 6

 

 

 
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Case No.: 2:19-cv-00168-JAD-DJA
Mayorga v. Ronaldo
Motion to Extend time

DATED this day of September, 2021.

Page 5 of 6

 

 

lase 2:19-cv-00168-JAD-DJA Document 135 Filed 09/01/21 Page 5 of 6

STO & ASSO

 

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Attorney for Plaintiff

 
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fase 2:19-cv-00168-JAD-DJA Document 135 Filed 09/01/21 Page 6 of 6

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 1% day of September, 2021, service of the foregoing
Plaintiff's Motion to Extend Time to reply to defendant’s response to plaintiff's motion for in
camera review of the Football Leaks documents to determine whether the crime fraud exception
applies [ECF NO. 124] was made this date through the court’s electronic filing system to the
following:
Christiansen Trial Lawyers
710 South 7th Street, Suite B
Las Vegas, NV 89101
Phone (702) 240-7979

Fax (866) 412-6992
Attorneys for the defendant

/s/ Maria Hernandez
An employee of STOVALL & ASSOCIATES

Page 6 of 6

 
